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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

  UNITED STATES OF AMERICA                         *    CRIMINAL NO. 10-0228-09


  VERSUS                                           *    JUDGE ROBERT G. JAMES


  DAVID E. JACKSON                                 *    MAG. JUDGE KAREN L. HAYES


                  REPORT AND RECOMMENDATION ON
   FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration of

 Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned U. S. Magistrate Judge for a change of plea

 hearing and allocution of the defendant, David E. Jackson, on April 21, 2011. Defendant was

 present with his counsel, Mr. Walt Caldwell.

        After said hearing, and for reasons orally assigned, it is the finding of the undersigned

 that the defendant is fully competent, that his plea of guilty is knowing and voluntary, and his

 guilty plea to Count One of the Superceding Indictment, is fully supported by a written factual

 basis for each of the essential elements of the offense. Therefore the undersigned U.S.

 Magistrate Judge recommends that the District Court ACCEPT the guilty plea of the defendant,

 David E. Jackson, in accordance with the terms of the plea agreement filed in the record of these

 proceedings, and that David E. Jackson be finally adjudged guilty of the offense charged in

 Count One of the Superceding Indictment.
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         Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties

 have fourteen (14) days from service of this Report and Recommendation to file specific,

 written objections with the Clerk of Court. A party may respond to another party’s objections

 within fourteen (14) days after being served with a copy thereof. A courtesy copy of any

 objection or response or request for extension of time shall be furnished to the District Judge at

 the time of filing. Timely objections will be considered by the District Judge before he makes a

 final ruling.

         A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

         THUS DONE AND SIGNED in chambers, at Monroe, Louisiana, this 21st day of April

 2011.
